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                       UNITED STATES DISTRICT COURT
                     FOR THE MIDDLE DISTRICT OF FLORIDA
                             ORLANDO DIVISION

   BEAR WARRIORS UNITED, INC, a
   Florida Not for Profit Corporation,

        Plaintiff,

   v.
                                              CASE NO.: 6:22-cv-2048-CEM-LHP
   ALEXIS LAMBERT, in her Official
   Capacity as Secretary of the
   FLORIDA DEPARTMENT OF
   ENVIRONMENTAL PROTECTION,

        Defendant.

                          AMENDED NOTICE OF APPEAL

          Notice is hereby given that Defendant Alexis Lambert, as the Secretary of

  the Florida Department of Environmental Protection, appeals to the United States

  Court of Appeals for the Eleventh Circuit from the Court’s order granting

  Plaintiff’s requested injunction (Doc.190), entered May 19, 2025, in addition to the

  final order and judgment (Doc.173) declaring Defendant in violation of the

  Endangered Species Act, which was entered on April 14, 2025, and all previous

  rulings, opinions, and orders entered in this case.

          Defendant previously appealed the final order and judgment on May 9,

  2025, and that appeal has been docketed in the Eleventh Circuit as case number

  25-11612.
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        Respectfully submitted this 28th day of May, 2025.



                                          STATE OF FLORIDA DEPARTMENT
                                          OF ENVIRONMENTAL PROTECTION

                                          /s/ Jeffrey Brown
                                          JEFFREY BROWN
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                                          KELLEY F. CORBARI
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                                          Department of Environmental Protection
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                                          Counsel for Alexis Lambert, in her official
                                          capacity as Secretary of the Florida
                                          Department of Environmental Protection




                          CERTIFICATE OF SERVICE

        I HEREBY certify that a rule and correct copy of the foregoing was

  served via the Court’s CM/ECF system, which provides notice to all parties,

  on this 28th day of May 2025.


                                     /s/ Jeffrey Brown
                                     JEFFREY BROWN
                                     Counsel for Defendant
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